       Case 3:20-cv-00252-JPW Document 33 Filed 11/06/20 Page 1 of 2




               UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
ARTURO JONES JOAQUIN MARTE, :               Civil No. 3:20-CV-00252
                             :
                             :
         Plaintiff,          :
                             :
         v.                  :
                             :
OFFICER KYLE OLIVER, et al., :
                             :
                             :
         Defendants.         :              Judge Jennifer P. Wilson

                                   ORDER

     AND NOW, on this 6th day of November, 2020, for the reasons set forth in

the accompanying memorandum, IT IS ORDERED that Defendants’ motion to

dismiss, Doc. 15, is GRANTED IN PART and DENIED IN PART as follows:

     1) The motion is DENIED as to Counts I and II of Plaintiff’s amended

        complaint.

     2) The motion is GRANTED WITH LEAVE TO AMEND as to Count III

        of Plaintiff’s amended complaint.

     3) Plaintiff shall file a second amended complaint in accordance with this

        order and the accompanying memorandum within twenty-one days of the

        date of this order.




                                       1
 Case 3:20-cv-00252-JPW Document 33 Filed 11/06/20 Page 2 of 2




4) If Plaintiff fails to file a second amended complaint within twenty-one

   days, Count III of Plaintiff’s amended complaint will be DISMISSED

   and Defendants shall file an answer to the amended complaint.



                                s/Jennifer P. Wilson
                                JENNIFER P. WILSON
                                United States District Court Judge
                                Middle District of Pennsylvania




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